
PER CURIAM.
We grant defendant’s petition for belated appeal of his sentence. Demps v. State, 696 So.2d 1296 (Fla. 3d DCA 1997). Pursuant to the state’s proper confession, we remand this matter to the trial court to address the errors on the revised score-sheet and to resentence defendant accordingly. Specifically, the court shall address whether it was proper to score victim injury and legal status violation points on the revised scoresheet. Notably, the original scoresheet did not reflect points for either category. In addition, the court shall delete the points assessed- for possession of a firearm. Neal v. State, 695 So.2d 496 (Fla. 1st DCA 1997).
Cause remanded for resentencing.
